                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MUBARAK ALEXANDER,                           :
    Plaintiff,                               :      CIVIL ACTION
                                             :
       v.                                    :      NO. 21-CV-4633-KSM
                                             :
BUCKS COUNTY, et al.,                        :
    Defendants.                              :

                                            ORDER

       AND NOW, this 2nd day of May, 2023, it is ORDERED as follows:

       1.      Upon consideration of Defendants Bucks County, Paul Lagana, and Matthew

Hartman’s Motion to Dismiss Plaintiff’s Amended Complaint (Doc. No. 61), Plaintiff’s

opposition brief (Doc. No. 63), and Plaintiff’s addendum to his opposition brief (Doc. No. 66-1),

it is ORDERED that the motion (Doc. No. 61) is DENIED.

       2.      Upon consideration of Defendant Kristen Hill’s Motion to Dismiss Plaintiff’s

Amended Complaint (Doc. No. 60), Plaintiff’s opposition brief (Doc. No. 62), Defendant Hill’s

reply brief (Doc. No. 64), and Plaintiff’s surreply brief (Doc. No. 65-1), it is ORDERED that the

motion (Doc. No. 60) is DENIED.

       3.      Defendants Bucks County, Lagana, Hartman, and Hill shall ANSWER Plaintiff’s

First Amended Complaint by May 23, 2023.

IT IS SO ORDERED.



                                             /s/Karen Spencer Marston
                                             ___________________________________
                                             KAREN SPENCER MARSTON, J.
